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           ORAL ARGUMENT NOT YET SCHEDULED
              No. 23-1069 (consolidated with No. 23-1071)



         IN THE UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT


                       HEALTHY GULF, et al.,
                           Petitioners,

                                   v.

         FEDERAL ENERGY REGULATORY COMMISSION,
                       Respondent,

                     COMMONWEALTH LNG, LLC,
                        Respondent-Intervenor.



                On Petition for Review of Orders of the
                Federal Energy Regulatory Commission


       JOINT FINAL OPENING BRIEF OF PETITIONERS
                  HEALTHY GULF, et al.




                 Counsel listed inside front brief cover


                        Dated October 27, 2023
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           CERTIFICATE AS TO PARTIES, RULINGS,
                   AND RELATED CASES

     Pursuant to D.C. Circuit Rule 28(a)(1), Petitioners certify as

follows:

     (A) Parties

     The parties in No. 23-1069 are petitioners Healthy Gulf, Center

for Biological Diversity, Louisiana Bucket Brigade, Sierra Club, and

Turtle Island Restoration Network; respondent Federal Energy

Regulatory Commission; and intervenor Commonwealth LNG, LLC.

     The parties in No. 23-1071 are petitioner Natural Resources

Defense Council; respondent Federal Energy Regulatory Commission;

and intervenor Commonwealth LNG, LLC.


     (B) Ruling Under Review


     The petitions for review challenge the Federal Energy Regulatory

Commission’s November 17, 2022 order granting authorization of the

Commonwealth Liquefied Natural Gas Export Project under Section 3

of the Natural Gas Act, 15 U.S.C. § 717b(e). 181 FERC ¶ 61,143.




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     (C) Related Cases


     As of the date of this filing, the undersigned is aware of one case

pending before this Court that may be related to this case within the

meaning of Circuit Rule 28(a)(1)(C):

     • Alabama Municipal Distributors Group v. FERC, D.C. Circuit

        Case No. 22-1101 (L), argument scheduled September 5,

        2023



                                         /s/ Nathan Matthews

                                         Nathan Matthews




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               RULE 26.1 DISCLOSURE STATEMENT

     Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C.

Circuit Rule 26.1, petitioners Healthy Gulf, Center for Biological

Diversity, Louisiana Bucket Brigade, Sierra Club, Turtle Island

Restoration Network, and Natural Resources Defense Council are non-

profit environmental organizations. Each petitioner states that it has no

parent corporation and that no publicly held company holds 10% or

more of its stock.

                                         /s/ Nathan Matthews

                                         Nathan Matthews




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                             GLOSSARY

      Authorization Order Commonwealth LNG, LLC, Order Granting
                          Authorization Under Section 3 of the
                          Natural Gas Act, 181 FERC ¶ 61,143 (Nov.
                          17, 2022), R.526 [JA001-089]

      EIS                   Environmental Impact Statement

      EPA                   Environmental Protection Agency

      FEIS                  Final Environmental Impact Statement

      FERC                  Federal Energy Regulatory Commission

      JA___                 Joint Appendix page(s)

      µg/m3                 Micrograms per cubic meter

      NEPA                  National Environmental Policy Act

      NAAQS                 National Ambient Air Quality Standards

      P__                   Paragraph in a FERC order

      R___                  Administrative Record item

      Rehearing Order       Commonwealth LNG, LLC, Order
                            Addressing Arguments Raised on
                            Rehearing, 183 FERC ¶ 61,173 (June 9,
                            2023), R.549, [JA090-152]

      Terminal              Commonwealth LNG Terminal




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                     JURISDICTIONAL STATEMENT

      In these consolidated cases, petitioners Healthy Gulf, Center for

Biological Diversity, Louisiana Bucket Brigade, Sierra Club, Turtle

Island Restoration Network, and Natural Resources Defense Council

(collectively, Healthy Gulf) seek review of the Federal Energy

Regulatory Commission’s (FERC) authorization of the Commonwealth

Liquefied Natural Gas Export Project (the Terminal or Commonwealth

Terminal) under Section 3 of the Natural Gas Act, 15 U.S.C. § 717b(e).

See Order Granting Authorization Under Section 3 of the Natural Gas

Act, 181 FERC ¶ 61,143 (Nov. 17, 2022) (Authorization Order) [JA001].

The Natural Gas Act grants this Court jurisdiction because Healthy

Gulf intervened in the proceeding before FERC, filed timely requests for

rehearing of the Authorization Order under 15 U.S.C. § 717r(a), and

filed their petitions for review with this Court within 60 days of FERC’s

January 19, 2023 rehearing denial. See 15 U.S.C. § 717r(b).




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                     STATUTES AND REGULATIONS

      Pertinent statutes and regulations are reproduced in an

addendum.


                        ISSUES FOR REVIEW

   1. Did FERC violate the National Environmental Policy Act (NEPA),

      42 U.S.C. § 4332, by:

        a. Refusing to determine whether the Commonwealth

           Terminal’s greenhouse gas emissions would be significant,

           despite two tools available with which to determine

           significance?

        b. Concluding that the Terminal would not have significant air

           quality impacts, including in environmental justice

           communities, based on an analysis that ignored cumulative

           impacts and the context of the affected communities?

        c. Dismissing reasonable design alternatives for the Terminal

           without demonstrating that those alternatives would be

           infeasible and without rigorously exploring their

           environmental impacts?




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   2. Did FERC violate Section 3 of the Natural Gas Act, 15 U.S.C.

      § 717b, and the Administrative Procedure Act, 5 U.S.C. § 706, by

      failing to articulate or apply a coherent standard in making the

      public interest determination of whether the Commonwealth

      Terminal’s adverse impacts outweighed its benefits?


                     STATEMENT OF THE CASE

                        I. INTRODUCTION

      Healthy Gulf challenges FERC’s approval, under Section 3 of the

Natural Gas Act, of the Commonwealth Terminal, a liquefied natural

gas export terminal and associated infrastructure proposed for Cameron

Parish, Louisiana. In approving the Terminal, FERC repeatedly

violated NEPA and the Natural Gas Act by stopping its analyses short,

denying itself information that might have caused it to deny a permit or

require mitigation that would lessen the Terminal’s impacts.

      FERC’s shortcomings are particularly apparent in its treatment of

greenhouse gas emissions. FERC concluded that the Terminal would

emit 100 million tons of carbon dioxide equivalent in its 30-year

lifespan, Authorization Order P74 [JA038], causing $3.6 billion in

harms through 2050, FEIS 4-397 [JA381]. But FERC stopped its


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analysis there, and refused to determine—as NEPA required—whether

these emissions were “significant,” 40 C.F.R. § 1502.16(a)(1), or to

otherwise pass judgment on them.

      FERC’s refusal was arbitrary. The Terminal’s greenhouse gas

emissions here are thirty-six times greater than FERC’s proposed

threshold for significance. Consideration of Greenhouse Gas Emissions

in Natural Gas Infrastructure Project Reviews, 178 FERC ¶ 61,108

PP79, 93-95 (Feb. 18, 2022) (Interim GHG Policy). The emissions here

plainly exceed any reasonable threshold FERC could apply. FERC’s sole

reason for refusing to consider its own estimate of the social cost of

greenhouse gas emissions—that there is no consensus threshold for

when monetized harm becomes significant—fares no better. Order

Addressing Arguments Raised on Rehearing, 183 FERC ¶ 61,173 P40

(June 9, 2023) (Rehearing Order) [JA112-113]. Agencies routinely make

judgment calls without the benefit of such criteria, and no nuanced

guidance is needed to determine whether $3.6 billion of societal harm is

worth taking seriously. By refusing to determine whether the

Terminal’s greenhouse gas emissions were significant, FERC both




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compromised consideration of potential mitigation and deprived the

public of the informed, transparent decisionmaking NEPA requires.

      For non-climate air pollutants, FERC violated NEPA by failing to

support its conclusion that the Terminal’s nitrogen dioxide pollution

would have insignificant impacts. Air quality modeling showed that the

Terminal would increase nitrogen dioxide concentrations in

surrounding communities. But FERC stopped its analysis once it

concluded that, where total nitrogen dioxide concentrations would

exceed U.S. Environmental Protection Agency (EPA) ambient air

quality standards, the Terminal’s individual contribution to those

concentrations fell below the so-called “Significant Impact Level”

proposed by EPA for use under a separate Clean Air Act permitting

program. Authorization Order P63 [JA032-033]. NEPA required more.

For NEPA purposes, individually insignificant impacts can be

cumulatively significant. NRDC v. Hodel, 865 F.2d 288, 297-98 (D.C.

Cir. 1988). And NEPA, unlike the Clean Air Act, requires consideration

of the context in which the impact would occur. Here, the Terminal

would increase nitrogen dioxide pollution in low income and minority

environmental justice communities that are particularly vulnerable to



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this pollution. See Authorization Order, Glick Concurrence P5 [JA073-

074]. FERC acknowledged this context, but arbitrarily excluded it from

its analysis.

      FERC similarly cut its analysis of multiple alternatives short.

Perhaps because of its failure to recognize the significance of the

Terminal’s air pollution, FERC dismissed a design for the Terminal’s

onsite power plant that could reduce the Terminal’s total air pollution

by up to 10%. Rehearing Order P26 [JA103-104]. FERC concluded that

this alternative would not be environmentally beneficial, because it

would also increase the Terminal’s footprint. Id. But NEPA did not

permit FERC to halt its analysis as soon as FERC concluded that an

alternative would have an environmental disadvantage. Instead, NEPA

required FERC to identify by how much the footprint would increase

(which FERC entirely failed to do), and to address whether this tradeoff

was worthwhile. The arbitrariness of FERC’s treatment of this

alternative is underscored by FERC’s mirrored, equally-arbitrary

treatment of another alternative, one that would reduce the Terminal to

its originally-proposed storage tank capacity. FERC found that the

reduced-storage alternative could cut the Terminal’s footprint by



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several acres, but rejected it because it would entail an unspecified

increase in air pollution. Id. P30 [JA105-106]. FERC’s dismissal of a

third alternative, carbon capture and sequestration, as infeasible was

also arbitrary, where FERC itself concluded it did not have information

to support that conclusion. Cf. id. P28 [JA104-105]; FEIS 4-399 [JA383].

      Finally, FERC was left to rely on a flawed environmental impact

analysis to determine, under the Natural Gas Act, whether the

Terminal is in the public interest. But it is unclear whether FERC even

considered environmental harms as part of its public interest analysis.

FERC merely stated that the Commonwealth Terminal is not

inconsistent with the public interest; it provided no decisionmaking

framework that the public, this Court, or even every FERC

Commissioner could identify.

      For these reasons, and as detailed below, this Court should grant

the petition, vacate, and remand to FERC.




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                     II. LEGAL FRAMEWORK

A. Natural Gas Act

      FERC exercises delegated authority under Natural Gas Act

Section 3 to “approve or deny an application for the siting, construction,

expansion, or operation” of liquefied natural gas infrastructure. 15

U.S.C. § 717b(e)(1); EarthReports, Inc. v. FERC, 828 F.3d 949, 952-53

(D.C. Cir. 2016). Under that authority, FERC will approve a liquefied

natural gas project unless the project is inconsistent with the public

interest. EarthReports, 828 F.3d at 953. The “public interest” standard

is broad and includes consideration of “environmental” and

“conservation” impacts. Sierra Club v. U.S. Dep’t of Energy, 867 F.3d

189, 202-03 (D.C. Cir. 2017).



B. National Environmental Policy Act

      NEPA “declares a broad national commitment to protecting and

promoting environmental quality.” Robertson v. Methow Valley Citizens

Council, 490 U.S. 332, 348 (1989). While “essentially procedural,” the

statute is “intended to ensure ‘fully informed and well-considered’

decisionmaking.” Union Neighbors United, Inc. v. Jewell, 831 F.3d 564,




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568 (D.C. Cir. 2016) (cleaned up). In short, NEPA requires agencies to

look before they leap.

      To serve that goal, NEPA mandates that federal agencies prepare

an environmental impact statement (EIS) before taking any major

federal action that significantly affects the environment. 42 U.S.C.

§ 4332(2)(C) (2022). 1 In the EIS, the agency must “take a ‘hard look’ at

the environmental consequences of its actions,” Sierra Club v. FERC,

867 F.3d 1357, 1367 (D.C. Cir. 2017) (Sabal Trail), including

alternatives to the proposed action, 40 C.F.R. § 1502.14, the cumulative

impacts of the action, id. § 1508.1(g)(3), and the “significance” of the

impacts, id. § 1502.16(a)(1). FERC has adopted the Council on

Environmental Quality’s NEPA regulations. 18 C.F.R. § 380.1.

      In February 2022, recognizing NEPA’s mandate that agencies

assess the significance of project impacts, FERC issued an interim

policy that, among other things, established a rebuttable presumption

that proposed Natural Gas Act-regulated projects with 100,000 metric



      1 Congress amended NEPA, including 42 U.S.C. § 4332, nine

months after FERC issued its final EIS. See Pub. L. No. 118-5, § 321,
137 Stat. 10, 38-45 (June 3, 2023). Those amendments are immaterial
here.


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tons of annual carbon-dioxide equivalent emissions would be deemed to

have significant impacts under NEPA. Interim GHG Policy, 178 FERC

¶ 61,108 PP79, 93-95. In March 2022, FERC reverted the interim policy

to a “draft policy,” explaining that FERC would not apply the policy to

new or pending applications until FERC finalizes it. Order on Draft

Policy Statements, 178 FERC ¶ 61,197 P2 (Mar. 24, 2022). FERC has

not yet finalized the policy.

      Taking a hard look at environmental impacts also requires

considering “environmental justice,” i.e., whether projects “will have a

‘disproportionately high and adverse’ impact on low-income and

predominantly minority communities.” Sabal Trail, 867 F.3d at 1368

(citing Executive Order 12,898, 59 Fed. Reg. 7629 (Feb. 11, 1994)). The

Council on Environmental Quality and EPA have promulgated

guidance interpreting this obligation. 2




      2 See Council on Environmental Quality, Environmental Justice:

Guidance Under the National Environmental Policy Act (1997),
https://www.epa.gov/sites/default/files/2015-
02/documents/ej_guidance_nepa_ceq1297.pdf; EPA, Promising Practices
for EJ Methodologies in NEPA Reviews (2016) (Promising Practices),
https://www.epa.gov/sites/default/files/2016-
08/documents/nepa_promising_practices_document_2016.pdf.


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C. Clean Air Act

      This case also indirectly implicates certain aspects of Clean Air

Act permitting, which FERC relies on in its analysis. Under the Clean

Air Act, EPA sets National Ambient Air Quality Standards (NAAQS)

for numerous pollutants. 42 U.S.C. § 7409. These are set at a level

“requisite to protect the public health,” including “an adequate margin

of safety,” id. § 7409(b)(1), although EPA is not required to set NAAQS

at levels “below which [pollutants] are known to be harmless.” Am.

Trucking Ass’ns v. EPA, 283 F.3d 355, 360, 369-70 (D.C. Cir. 2002). For

the primary pollutant at issue here—nitrogen dioxide—EPA has set a

NAAQS for one-hour periods at 100 parts per billion, 40 C.F.R.

§ 50.11(b), which equals 188 micrograms per cubic meter (µg/m3), FEIS

4-390 [JA374].

      Under the Clean Air Act’s Prevention of Significant Deterioration

program, new major stationary sources (like the Commonwealth

Terminal) must, inter alia, “demonstrate” that their emissions will “not

cause, or contribute” to any NAAQS violation. 42 U.S.C. § 7475(a)(3).

EPA allows permitting agencies to use so-called “Significant Impact

Levels” to help determine when new sources cause or contribute to a



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NAAQS violation. While EPA has issued regulations codifying

Significant Impact Levels for some NAAQS, see 40 C.F.R. § 51.165(b)(2),

it has not for its one-hour nitrogen dioxide standard. Instead, EPA has

issued guidance 3 suggesting an interim Significant Impact Level of four

parts per billion, or 7.5 µg/m3. FEIS 4-231 [JA348].

      Significant Impact Levels are a helpful tool, but not dispositive to

a “cause or contribute” finding. EPA’s regulations provide that a project

“will be considered to cause or contribute to a [NAAQS] violation” when

its emissions would (a) exceed the regulatory Significant Impact Level

for the relevant pollutant (b) at “any locality that does not or would not

meet the applicable” NAAQS. 40 C.F.R. § 51.165(b)(2). On the other

hand, where a project’s impacts fall below the Significant Impact Level,

the permitting agency can still find that a project causes or contributes

to a NAAQS violation based on other factors. See Prevention of

Significant Deterioration for Particulate Matter, 75 Fed. Reg. 64,864,

64,892 (Oct. 20, 2010) (explaining “permitting authorities should



      3 EPA, Guidance Concerning the Implementation of the 1-hour

NO2 NAAQS for the Prevention of Significant Deterioration Program
Att. 1 (2010 SIL Guidance), at 12 (June 29, 2010),
https://www.epa.gov/sites/default/files/2015-07/documents/appwno2.pdf.


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determine when it may be appropriate to conclude” that impacts below

Significant Impact Levels “‘cause or contribute’ to an air quality

problem”); see also Sierra Club v. EPA, 705 F.3d 458, 465-66 (D.C. Cir.

2013) (granting voluntary remand and vacatur of regulatory text that

did not give permitting agencies that discretion).




                     III. FACTUAL BACKGROUND

A. The Commonwealth Terminal and surrounding
   communities

      Commonwealth LNG, LLC proposes to build and operate a

liquefied natural gas export facility with a nominal capacity of 390

billion cubic feet per year. Authorization Order P3 [JA001-002]. The

design includes a dedicated, on-site electric power plant; “pretreatment”

facilities that remove impurities from incoming pipeline gas before it is

cooled; six liquefaction “trains,” each powered by its own turbine, to

refrigerate the gas; six liquefied natural gas storage tanks, each with

capacity of 50,000 cubic meters; one marine berth; and a three-mile, 42-

inch-diameter natural gas supply pipeline. Id. The permanent footprint




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of these facilities would be roughly 150 acres. Id. P14 [JA007-008]; see

also Site Plan, R.179 App’x D [JA161].

      The Terminal would be located at the mouth of the Calcasieu

River, in southwest Louisiana. FEIS 1-2 [JA276] (map). The site lies

within “the Gulf Coast Prairie Bird Conservation Region and the

Chenier Plain Important Bird area.” Id. ES-6 [JA275]. “The wetland

and chenier habitats in the Project area are especially important as

potential habitat for migratory bird species, including songbirds,

colonial nesting waterbirds, and raptors.” Id. However, the area also

has “a long history of heavy industrialization, with the attendant

consequences for … surrounding communities.” Authorization Order,

Glick Concurrence P5 [JA073-074]. Recently, that industrialization has

included numerous other liquefied natural gas export terminals. Three

such terminals are already operating in the surrounding area, and

FERC has approved four more. FEIS 3-28, 4-347 to -349 [JA282, 358-

360]. An eighth proposal, CP2 LNG, is currently undergoing FERC

review and would be sited only two miles from the Commonwealth

Terminal. Id.




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        Many residents of the surrounding area are low-income or

minority. More than 61% of the census block groups that could be

affected by the Terminal are environmental justice communities. FEIS

4-191 [JA312]. “[M]any of the communities in the area exhibit rates of

cancer, asthma, and other serious ailments that are well above the

national average.” Authorization Order, Glick Concurrence P5 [JA073-

074].



B. FERC’s review and approval

        FERC issued its draft EIS for the Terminal in March 2022. R.333

[JA201]. Healthy Gulf’s comments raised concerns about the Terminal,

including greenhouse gas emissions, R.389 at 20-23 [JA233-236]; air

quality and environmental justice impacts, id. at 28-30, 36-41 [JA240-

242, 243-248]; alternatives, id. at 5-15, 24-26 [JA222-232, 237-239]; and

its consistency with the public interest under the Natural Gas Act, id.

at 6 [JA223]. See also R.388 at 18-29 [JA206-217], R.361 [JA203]. On

September 9, 2022, FERC published its final EIS, [JA253], and on

November 17, 2022, FERC issued the Authorization Order. But these

documents failed to resolve Healthy Gulf’s concerns.




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         1. Greenhouse gases

      FERC concluded that the Terminal would release nearly 3.6

million tons of carbon dioxide equivalent greenhouse gases each year of

its 30 years of expected operation. Authorization Order P74 [JA038].

This is the equivalent of around 700,000 new cars on the road,

Authorization Order, Glick Concurrence P4 [JA073], and would increase

Louisiana’s total greenhouse gas emissions by nearly two percent, FEIS

4-396 [JA380]. FERC also used interagency guidance on the “social cost

of greenhouse gases” to estimate the total social cost of the Terminal’s

emissions. Id. 4-397 [JA381]. This “social cost of greenhouse gases”

incorporates “the value of all climate change impacts,” including human

health effects, changes in agricultural productivity, and property and

ecosystem damages. 4 Applying a three percent discount rate, FERC

estimated the Terminal’s greenhouse gas emissions would have a total

social cost of nearly $3.6 billion through 2050. Id.



      4 Interagency Working Group on Social Cost of Greenhouse Gases,

Tech. Support Document: Social Cost of Carbon, Methane, and Nitrous
Oxide Interim Estimates under Executive Order 13990, at 2 (Feb. 2021),
https://www.whitehouse.gov/wp-content/uploads/2021/02/
TechnicalSupportDocument_SocialCostofCarbonMethaneNitrousOxide.
pdf, discussed at FEIS 4-397 [JA381].


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      Despite providing these numbers, FERC refused to determine

whether the Terminal’s climate impacts were “significant” under NEPA.

Authorization Order P75 [JA038-039]; FEIS 4-396 [JA380].


         2. Air quality and environmental justice

      FERC found that the Terminal (including related mobile sources)

would emit around 550 tons of nitrogen dioxide each year. FEIS 4-224

[JA341]. FERC relied on modeling conducted under the Clean Air Act’s

Prevention of Significant Deterioration program, which FERC

instructed Commonwealth to supplement to include mobile sources, to

determine whether those emissions would have significant impacts. Id.

      This modeling showed the Terminal could increase nearby

nitrogen dioxide concentrations by up to 124 µg/m3—around two-thirds

of the one-hour NAAQS. FEIS 4-227 [JA344]. Because that exceeded

EPA’s proposed Significant Impact Level of 7.5 µg/m3, FERC then

modeled the Terminal’s emissions along with background

concentrations and projected emissions from other sources in the area

(including existing and approved, not-yet-constructed FERC-regulated

facilities). Id. 4-228, -231 [JA345, 348]. That second round of modeling

projected hundreds of exceedances of the one-hour nitrogen dioxide


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NAAQS. See id. 4-231, H-5 to -16, App’x I fig.6 [JA348, 406-417, 419].

Most of these exceedances would be within environmental justice

communities. Authorization Order P63 [JA032-033].

      FERC nonetheless concluded that air quality and related

environmental justice impacts would be insignificant under NEPA

because the Terminal’s “contribution” to any potential NAAQS violation

would “be less than the significant impact level [of 7.5 µg/m3] at each

exceedance location.” FEIS 4-198 [JA316]; see also id. 4-232 [JA349];

Authorization Order P63 [JA032-033].


         3. Wetlands and habitat

      Construction of the Terminal would permanently disturb 152.8

acres. FEIS 2-8 [JA278]. This includes 89.6 acres of wetlands. Id. 5-405

[JA389]. FERC concluded that because permanent wetland impacts

would be mitigated under the Clean Water Act, wetland impacts were

insignificant. Id. 5-406 [JA390].

      The remaining impacted area includes wildlife habitat. FERC

concluded that impacts to this habitat would also be insignificant,

relying on Commonwealth’s commitment to protect surrounding habitat

from other impacts, and on the Fish and Wildlife Service’s conclusion


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that the Terminal would not jeopardize the continued existence of

threatened species. FEIS 5-408, -412 [JA392, 396].


         4. Alternatives

      As pertinent here, FERC discussed three alternative designs.

      First, FERC discussed replacing the on-site electric power plant

with a more efficient design. FEIS 3-48, [JA302]. FERC concluded that

this could reduce “overall site … emissions … by less than ten percent.”

Id. FERC asserted that this alternative would also require “significant,”

but unspecified, additional land use, impacting additional “habitat and

wetlands.” Id. FERC concluded that on balance, this alternative did

“not provide a significant environmental advantage.” Id.

      Second, FERC discussed omitting one of the Terminal’s six

proposed storage tanks. FEIS 3-46 [JA300]. This could reduce the

footprint by up to 2.3 acres, while still providing more storage capacity

than Commonwealth had originally proposed. Id. But FERC asserted

that this alternative would increase air pollution, by requiring

additional startup and shutdown events. Id. FERC did not discuss how

many more such events would occur, or the emissions associated




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therewith. Id. Nonetheless, FERC concluded that the proposed design

was environmentally “preferable” to this alternative. Id.

      Finally, FERC discussed capturing and sequestering carbon

dioxide from the gas pretreatment process. FEIS 4-264 to -265, 4-398 to

-399 [JA351-352, 382-383]. Although capturing these emissions was

feasible, FERC noted that Commonwealth had asserted that post-

capture sequestration of these emissions would be infeasible, citing a

lack of existing sequestration infrastructure. Id. 4-398 [JA382]. But the

FEIS explained that Commonwealth’s assertion was in tension with the

fact that the neighboring proposed CP2 LNG export project had

proposed to sequester carbon dioxide in a new site three miles offshore.

Id. 4-399 [JA383]. The EIS concluded that “[w]ithout additional

information, [FERC was] unable to evaluate the feasibility of CP2

LNG’s sequestration site for the Commonwealth Project.” Id.


         5. Public interest

      FERC concluded that the Commonwealth Terminal was “not

inconsistent with the public interest.” Authorization Order P18 [JA010].

FERC refused to consider commenters’ questions about the lack of need

for, or benefit of, the Terminal. Id. P11-13 [JA006-007]. Instead, FERC


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relied on a presumption in favor of approval, and asserted that

environmental impacts did not outweigh this presumption. Id. P14-15

[JA007-009]. Two Commissioners lamented that in so doing, FERC

failed to offer a “clear framework” to explain its public interest

determination. Id., Glick Concurrence P7 [JA074-075], Clements

Concurrence P5 [JA087].



C. Rehearing before FERC and petitions before this Court

      The Healthy Gulf petitioners jointly requested rehearing of the

Authorization Order on December 19, 2022. R.533 [JA455]. This request

was deemed denied after FERC failed to timely respond. R.535 [JA501].

Healthy Gulf then petitioned this Court for review, in two separately-

filed suits. The Court consolidated the petitions, Dkt. No. 1991509,

denied FERC’s motion for an abeyance, and ordered the agency to file

the index to the record by June 9, Dkt. No. 2000940. Just before filing

the record index, see Dkt. No. 2003055, FERC issued an order

responding to Healthy Gulf’s rehearing request and affirming the

Authorization Order. Rehearing Order [JA090].




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                     SUMMARY OF ARGUMENT

      NEPA and the Natural Gas Act required FERC to take a hard

look at the Commonwealth Terminal’s greenhouse gas emissions,

including passing judgment on whether these emissions would be

“significant.” The shifting justifications FERC proffered for failing to do

so were arbitrary: FERC’s plan to develop a future policy did not excuse

FERC’s present obligations, and FERC failed to demonstrate that it was

incapable of deciding significance here.

      FERC further violated NEPA by concluding that the Terminal’s

nitrogen dioxide emissions would not have significant impacts. FERC

rested solely on the claim that the Terminal’s contribution to air

pollution would not exceed the “Significant Impact Level” EPA proposed

under the Clean Air Act. But FERC’s analysis ignored that individually

insignificant actions can have cumulatively significant consequences.

And NEPA, unlike the Clean Air Act, requires consideration of the

context in which such pollution will occur; here, that context includes

environmental justice communities. Healthy Gulf timely raised their

criticisms of FERC’s reliance on Significant Impact Levels at the

rehearing stage.



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      FERC arbitrarily rejected three reasonable alternative Terminal

designs. For two, FERC arbitrarily rejected the alternative based on

purported environmental disadvantages without even identifying the

magnitude of those harms. For a third, FERC dismissed the alternative

as infeasible even though the EIS concluded that FERC did not have

information to support this determination.

      Finally, FERC violated the Natural Gas Act by concluding that

the Commonwealth Terminal would not be inconsistent with the public

interest without articulating or applying a coherent standard for how it

reached that determination.


                              STANDING

      Petitioners are non-profit organizations with members who live,

work, and recreate in areas that would be affected by the construction

and operation of the Terminal. See Allaire Decl. ¶¶ 5-7; Greenwald

Decl. ¶¶ 3, 9; Grenter Decl. ¶¶ 4-5; Robertson Decl. ¶¶ 5-6; Steinhaus

Decl. ¶¶ 3-4, 9; Yoder Decl. ¶¶ 5-6 (Add. 33-73). The Terminal would

harm these members’ “concrete aesthetic and recreational interests.”

Sabal Trail, 867 F.3d at 1365 (cleaned up). One member lives adjacent

to the Terminal property and is concerned that the Terminal’s


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construction would cause irreversible damage to his property through

increased flooding and erosion; decrease his and his family’s ability to

use and enjoy his property, due to increased noise and light pollution;

and reduce native animal populations that he hunts, observes, or

otherwise enjoys. Allaire Decl. ¶¶ 11-22 (Add. 36-43). Another member

regularly visits Holly Beach—a few miles from the Terminal—to relax,

watch birds, and exercise. Roberston Decl. ¶ 9 (Add. 57). She is

concerned the Terminal would reduce her aesthetic enjoyment of Holly

Beach and decrease, through noise and air pollution as well as wetland

destruction, the bird populations she enjoys watching. Id. ¶¶ 9-11 (Add.

57-59). These members’ harms satisfy Article III’s injury-in-fact

requirement. See Sabal Trail, 867 F.3d at 1366. And the Court can

redress these harms by vacating the Authorization Order. Id. at 1367.

      Petitioners also meet the other requirements for associational

standing. These petitions are germane to petitioners’ organizational

interests. See Allaire Decl. ¶¶ 5-7 (Add. 33-34); Grenter Decl. ¶¶ 4,

7 (Add. 50-52); Trujillo Decl. ¶¶ 6-9 (Add. 60-78; Yoder Decl. ¶¶ 5-6

(Add. 72-73). And there is no “reason why … individual members would




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need to join the petition in their own names.” See Sabal Trail, 867 F.3d

at 1366.


                              ARGUMENT

                     I. STANDARD OF REVIEW

      The Administrative Procedure Act provides the standard of review

for claims under NEPA and the Natural Gas Act. See Vecinos para el

Bienstar de la Comunidad Costera v. FERC, 6 F.4th 1321, 1327, 1331

(D.C. Cir. 2021). The Administrative Procedure Act states that courts

“shall … hold unlawful and set aside” any agency action that is

“arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” 5 U.S.C. § 706(2). FERC must have “examine[d]

the relevant data” and made “a rational connection between the facts

found and the choice made.” Motor Vehicle Mfrs. Ass’n of U.S. v. State

Farm Mut. Auto. Ins. Co., 463 U.S. 29, 30, 43 (1983) (cleaned up).

Where FERC “rests a decision, at least in part, on an infirm ground,

[the Court] will find the decision arbitrary and capricious.” Vecinos, 6

F.4th at 1331.




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 II. FERC’S CONSIDERATION OF THE TERMINAL’S DIRECT
      GREENHOUSE GAS EMISSIONS WAS ARBITRARY AND
                      CAPRICIOUS

      Operation of the Commonwealth Terminal would emit over 3.6

million tons of carbon dioxide equivalent greenhouse gases per year, for

30 years. Authorization Order P74 [JA038]. NEPA required FERC to

take a hard look at these emissions, and the Natural Gas Act required

FERC to consider these emissions and their impact in its public interest

analysis. Vecinos, 6 F.4th at 1326, 1331. But even though the

Terminal’s annual emissions would be 36 times greater than FERC’s

proposed threshold for “significant” greenhouse gas emissions, Interim

GHG Policy, 178 FERC ¶ 61,108 P3, and even though FERC estimated

that through 2050, these emissions would cause $3.6 billion in social

harm, FEIS 4-397 [JA381],5 FERC refused to decide whether these

emissions—more than 100 million tons over the life of the project—were

“significant.” And FERC refused to explain whether or how these




      5 This is FERC’s estimate using the central, 3% rate for

discounting future harm. FERC’s estimates also ignored a sixth of the
anticipated emissions: FERC expects the Terminal to operate through
2056, but did not estimate social cost for emissions beyond 2050. FEIS
4-397 [JA381].


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emissions factored into its public interest analysis and consideration of

potential mitigation. Authorization Order P75 [JA038-039]; Rehearing

Order, Clements Dissent P2 [JA148-149]. FERC had at least two tools it

could have used to inform this analysis: FERC’s proposed 100,000 ton

per year significance threshold and the social cost of carbon. FERC’s

reasons for refusing to use these tools were arbitrary.



A. FERC refused to determine whether the Terminal’s
   greenhouse gas emissions were significant

      Both the Natural Gas Act and NEPA required FERC to weigh the

importance of the Terminal’s greenhouse gas emissions. The “public

interest” protected by the Natural Gas Act encompasses environmental

effects, including from greenhouse gas emissions. Food & Water Watch

v. FERC, 28 F.4th 277, 288 (D.C. Cir. 2022); Sabal Trail, 867 F.3d at

1373-74. FERC’s Natural Gas Act Section 3 authority to approve or

deny the Terminal, or to require modifications thereof, 15 U.S.C.

§ 717b(e), therefore included the authority and obligation to consider

the Terminal’s direct greenhouse gas emissions. Vecinos, 6 F.4th at

1329. And because FERC has authority to consider greenhouse gas

emissions, NEPA requires that FERC take a hard look at these



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“environmental impacts … and the significance of those impacts.” 40

C.F.R. § 1502.16(a)(1) (emphasis added); accord 18 C.F.R. § 380.7(a)

(requiring disclosure of “significant environmental impacts of the

proposed action”); Robertson, 490 U.S. at 352 (NEPA requires agencies

to explain the “severity” of effects). Faced with these obligations, FERC

cannot simply throw up its hands: if FERC claims that information is

unavailable, it must nonetheless use methods “generally accepted in the

scientific community” to evaluate the impacts. 40 C.F.R. § 1502.21(c)(4);

accord Vecinos, 6 F.4th at 1328.

        FERC nonetheless refused to determine whether the Terminal’s

greenhouse gas emissions were significant. Authorization Order P75

[JA038-039]. And the record is silent as to whether or how FERC

factored greenhouse gas emissions into its public interest

determination. 6 See Rehearing Order, Clements Dissent P2 [JA148-

149].




        6 FERC did not dispute here, and has not disputed in any prior

order, its Natural Gas Act authority over direct greenhouse gas
emissions from export infrastructure. While FERC has disputed its
authority to consider indirect emissions relating to gas production and
overseas use when approving export infrastructure, Authorization


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      FERC’s silence on these key points renders its decisions arbitrary

and capricious. See Envtl. Health Tr. v. FCC, 9 F.4th 893, 906 (D.C. Cir.

2021). One might want to assume that FERC determined that these

emissions were not significant, did not render the Terminal contrary to

the public interest, or did not warrant additional mitigation. But FERC

never says that. Nothing in the record explains, for example, whether

FERC concluded that these emissions were so limited that they were no

cause for concern; whether FERC instead concluded that they were a

grave problem that was nonetheless outweighed by a compelling

demonstration of public benefit; or whether FERC simply failed to

consider the issue at all. FERC’s failure to “identify the stepping stones”

on the path to its conclusions about the impacts of greenhouse gas

emissions, consideration of relevant alternatives, and the public

interest violated basic principles of administrative law. Sierra Club v.

Costle, 657 F.2d 298, 333 (D.C. Cir. 1981); accord Am. Radio Relay

League, Inc. v. FCC, 524 F.3d 227, 241 (D.C. Cir. 2008) (holding

agency’s “conclusory statement” on a critical question “provides neither



Order P13, 81-82 [JA007, 042], Healthy Gulf does not raise any claims
regarding those “lifecycle” emissions in this case.


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assurance that the [agency] considered the relevant factors nor a

discernable path to which the court may defer.”).



B. FERC arbitrarily rejected two methods to fulfill its
   obligation to consider greenhouse gas emissions

      Healthy Gulf identified two methods FERC could have used to

inform its analysis: FERC’s interim greenhouse gas policy, which

proposes a 100,000 ton per year significance threshold for emissions,

and the social cost of carbon. R.533 at 33-37 [JA480-484]. FERC’s

reasons for refusing to employ these methods were arbitrary.


         1. FERC’s interim greenhouse gas significance
            threshold

      Perhaps the simplest solution would have been for FERC to

consider its own proposal that emissions of 100,000 tons per year or

more of carbon dioxide equivalent are significant. Interim GHG Policy,

178 FERC ¶ 61,108, P79. The Terminal, after all, would emit 36 times

that amount each year. Authorization Order P74 [JA038].

      FERC’s interim (now draft) policy explained the threshold’s

proposed use and context. The threshold would not preclude FERC from

approving projects that would exceed this level of emissions, Interim



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GHG Policy, 178 FERC ¶ 61,108, P108; it would merely identify

emissions that needed to be carefully considered, id. P79, and that were

worth mitigating, id. P106. The policy further explained that this

100,000-ton-per-year threshold would be higher than similar thresholds

set by EPA and other agencies. Id. P93-95. And FERC recognized its

authority and obligation to exercise its own judgment in determining

what impacts were significant. Id. P25-26 (collecting cases).

      The Authorization and Rehearing Orders did not explain why

FERC cannot apply its reasoning for the proposed 100,000-ton

threshold to the Terminal’s emissions. Although FERC, after it

published the interim policy, decided not to apply it until it is finalized,

178 FERC ¶ 61,197 P2, FERC has not disagreed with any of the

findings or statements therein. And while FERC may be reconsidering

whether the threshold should be lower or higher—perhaps 75,000 tons

per year, or 150,000—such revision would not matter here. In an

analogous case concerning modification of a natural gas pipeline, FERC

explained that although it had not yet adopted a general test for the

significance of greenhouse gas emissions, the emissions at issue (only

351 metric tons per year) fell well below any threshold FERC might



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ultimately adopt. N. Nat. Gas Co., 174 FERC ¶ 61,189 PP29, 33 (Mar.

22, 2021). The converse is true here. Direct emissions from the

Commonwealth Terminal are an order of magnitude above any

significance threshold FERC or any other agency has proposed. See

Interim GHG Policy, 178 FERC ¶ 61,108, P93-95. The fact that some

other case might pose a difficult question does not excuse FERC’s

failure to answer the easy question before it here.


         2. Social cost of carbon

      In the alternative, or in conjunction with consideration of its

proposed threshold, FERC could have used the interagency protocols for

estimating the social cost of greenhouse gases (the “social cost of

carbon”). Although FERC estimated the social cost of the Terminal’s

direct greenhouse gas pollution as nearly $3.6 billion, FEIS 4-397

[JA381], it said it did so only “for informational purposes,” Rehearing

Order P40 [JA112-114]. FERC rejected using this estimate to inform its

own decisionmaking, but its reasons for doing so shifted over time.

      The Authorization Order stated that because FERC had disclosed

the social cost of the Terminal’s greenhouse gas emissions, and because

it was “conducting a generic proceeding to determine how [FERC] will


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conduct significance determinations for [greenhouse gases] going

forward,” FERC would not characterize the Commonwealth Terminal’s

greenhouse gas emissions as significant or insignificant. Authorization

Order, P75 [JA038-039]. But FERC’s aspirations for future

proceedings—however well-intentioned—cannot justify FERC’s decision

to approve the Commonwealth Terminal without having taken a hard

look at the Terminal’s climate impacts. See City of Miami v. FERC, 22

F.4th 1039, 1043 (D.C. Cir. 2022) (“[A]n agency faced with a claim that

a party is violating the law … cannot resolve the controversy by

promising to consider the issue in a prospective legal framework.”

(citing AT&T v. FCC, 978 F.2d 727, 731-32 (D.C. Cir. 1992))).

      In the Rehearing Order, FERC walked back its suggestion that its

plan to develop a general greenhouse gas policy excused it from making

a significance determination here. Rehearing Order P40 [JA112-114].

Instead, the Rehearing Order offered a new, single criticism of the

social cost of carbon tool, not articulated in the Authorization Order: the

claim that the social cost of carbon is not useful because “there are no




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criteria to identify what monetized values are significant for NEPA

purposes.” Id. P40 [JA112-114]. 7

      FERC’s new rationale cannot justify its decision to punt on the

important question of the significance of the Terminal’s greenhouse gas

emissions. No court has held that questions about how to translate

monetized social costs into environmental significance, standing alone,

are enough to justify not using the tool. See, e.g., EarthReports, 828 F.3d

at 956. And they are not. “The NEPA process involves an almost endless

series of judgment calls.” Duncan’s Point Lot Owners Ass’n v. FERC,

522 F.3d 371, 376 (D.C. Cir. 2008) (cleaned up). FERC has the authority

to make this judgement call on what level of monetized harm is

significant enough that it should weigh in FERC’s public interest

determination and analysis of alternatives and mitigation. Spiller v.



      7 In this regard, the Rehearing Order differs from FERC’s prior

criticisms of the social cost of carbon, which also claimed that the tool
did not reflect physical impacts, and that there was not a consensus as
to a single discount rate. See EarthReports, 828 F.3d at 956; Del.
Riverkeeper Network v. FERC, 45 F.4th 104, 111 (D.C. Cir. 2022)
(affirming Adelphia Gateway, LLC, 171 FERC ¶ 61,049, P95 (Apr. 17,
2020); Ctr. for Biological Diversity v. FERC, 67 F.4th 1176, 1184 (D.C.
Cir. 2023). Whether because of FERC’s expanded understanding of the
tool, a response to Vecinos, or for some other reason, FERC no longer
faults the tool in these regards.


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White, 352 F.3d 235, 244 n.5 (5th Cir. 2003) (“[D]etermining whether

significance exists inherently involves some sort of a subjective

judgment call.”). And under NEPA, this is FERC’s obligation. 40 C.F.R.

§ 1502.16(a)(1) (“discussion shall include … the significance”); accord

Robertson, 490 U.S. at 352. There are few, if any, bright-line criteria for

determining significance for any types of environmental impacts; yet

NEPA requires agencies to make informed judgments “the best it can

with the data it has.” Mont. Wilderness Ass’n v. McAllister, 666 F.3d

549, 559 (9th Cir. 2011). While some cases may present a close call

whether monetized costs are worth worrying about, here, where FERC

estimated the social cost of the Terminal’s direct greenhouse gas

emissions would approach $3.6 billion, FEIS 4-397 to 4-398 [JA381-

382], it was arbitrary to simply shrug them off and provide them no

explicit weight in the public interest calculus.



C. FERC’s refusal to determine the significance of the
   Terminal’s greenhouse gas emissions impeded other parts of
   its analysis

      By not concluding whether the Commonwealth Terminal’s

greenhouse gas emissions are significant, FERC both foreclosed




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potential mitigation of adverse effects and deprived the public of

informed, transparent decisionmaking in violation of NEPA.

      Determining the significance of environmental impacts is a critical

step in the NEPA analysis. An EIS must “contain a detailed discussion

of possible mitigation measures” to address adverse environmental

impacts, Robertson, 490 U.S. at 351, and—per FERC’s regulations—

disclose “[a]ny significant environmental impacts of the proposed action

that cannot be mitigated,” 18 C.F.R. § 380.7(d). The Natural Gas Act, in

turn, provides FERC broad authority to require implementation of

mitigation measures, see 15 U.S.C. § 717b(e)(3)—authority FERC can

use to condition approval of a project on mitigation. See, e.g.,

Authorization Order App’x A [JA045-071] (requiring Commonwealth to

comply with mitigation measures as conditions of its approval).

      FERC’s refusal to determine the significance of the Terminal’s

greenhouse gas emissions effectively discounted the benefits of

mitigating those impacts. Mitigation can be appropriate for

insignificant impacts, but FERC has argued that its inability to

determine the significance of greenhouse gas emissions prevented

FERC from determining appropriate levels of mitigation. See, e.g.,



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Jordan Cove Energy Project, 171 FERC ¶ 61,136, P254 (May 22, 2020)

(concluding, because it could not “reach a significance determination”

for greenhouse gas emissions, that “we see no way to establish

appropriate levels of potential mitigation or no way to ensure project-

level mitigation measures would be effective”). FERC’s failure is

material in this case, where there were alternatives presented that

could meaningfully reduce the Terminal’s greenhouse gas emissions—

alternatives that FERC rejected without any consideration of those

impacts. See infra Parts IV.A, IV.C.

      FERC’s failure also denied the public of information necessary “to

properly evaluate the severity of the adverse effects” of the Terminal.

Robertson, 490 U.S. at 351. One of NEPA’s “twin aims” is “ensur[ing]

that the agency will inform the public that it has indeed considered

environmental concerns in its decisionmaking process.” Balt. Gas &

Elec. Co. v. NRDC, 462 U.S. 87, 97 (1983). FERC had everything it

needed to make a significance determination. It simply refused. This

“head-in-the-sand approach … is the antithesis of NEPA’s requirement

that an agency’s environmental analysis candidly confront the relevant




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environmental concerns.” Am. Wild Horse Pres. Campaign v. Perdue,

873 F.3d 914, 931 (D.C. Cir. 2017).




III. FERC FAILED TO TAKE A HARD LOOK AT AIR IMPACTS,
        PARTICULARLY IN ENVIRONMENTAL JUSTICE
                      COMMUNITIES

      The Commonwealth Terminal would emit hundreds of tons of air

pollution, including more than 550 tons of nitrogen dioxide, during each

year of operation. FEIS 4-224 [JA341]. These emissions would increase

ambient nitrogen dioxide pollution—in some cases by 66% of the one-

hour NAAQS. Id. 4-227, 4-231 [JA344, 348] (explaining the Terminal

would increase pollution by up to 124.54 µg/m3, whereas the NAAQS is

188 µg/m3). Modeling further predicts that, in numerous locations

affected by the Terminal’s emissions, air quality would violate the

nitrogen dioxide NAAQS. Id. App’x I fig. 6 [JA419]. Most of these

violations would take place in environmental justice communities.

Authorization Order P63 [JA032-033].

      FERC nonetheless arbitrarily concluded that the Terminal’s air

impacts would be insignificant and would not have a disproportionately

high and adverse impact on environmental justice communities. FEIS


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4-198, -232 [JA316, 349]. These conclusions rest on FERC’s claim that

on days when air quality would exceed the NAAQS, the NAAQS would

be violated anyway, and the Terminal’s individual contribution would

be lower than EPA’s interim Significant Impact Level. FEIS 4-198

[JA316]; Authorization Order P63 [JA032-033]. But NEPA required

FERC to take a hard look at cumulative effects, which FERC cannot

dismiss solely by arguing that the Terminal’s incremental contribution

to the cumulative whole is insignificant. NRDC, 865 F.2d at 297-98; see

also 40 C.F.R. § 1508.1(g)(3). Moreover, FERC’s reliance on Significant

Impact Levels as a NEPA threshold was unreasonable and failed to

account for important context here, including impacts on environmental

justice communities. FERC’s arbitrary dismissal of these air and

environmental justice impacts also affected other parts of its

decisionmaking, leading FERC to conclude that alternatives that would

reduce these impacts would not provide a meaningful environmental

benefit, and causing FERC to disregard these impacts in its public

interest determination.




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A. FERC failed to take a hard look at cumulative air impacts

      NEPA requires agencies to consider “cumulative effects, which are

effects on the environment that result from the incremental effects of

the action when added to the effects of other past, present, and

reasonably foreseeable actions.” 40 C.F.R. § 1508.1(g)(3). The Council on

Environmental Quality has emphasized the importance of cumulative

effects:

           Evidence is increasing that the most devastating
           environmental effects may result not from the
           direct effects of a particular action, but from the
           combination of individually minor effects of
           multiple actions over time. … The fact that the
           human environment continues to change in
           unintended and unwanted ways in spite of
           improved federal decisionmaking resulting from
           the implementation of NEPA is largely
           attributable to this incremental (cumulative)
           impact. 8

The Council’s regulations make clear that “[c]umulative effects can

result from individually minor but collectively significant actions taking

place over a period of time.” 40 C.F.R. § 1508.1(g)(3).



      8 Council on Environmental Quality, Considering Cumulative

Effects Under the National Environmental Policy Act, at 1 (Jan. 1997),
https://www.energy.gov/nepa/articles/considering-cumulative-effects-
under-national-environmental-policy-act-ceq-1997.


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      Courts agree that a project’s incremental and cumulative effects,

while related, are separate inquiries. This Court has held that an EIS

violates NEPA’s hard look requirement “when it consider[s] only the

incremental impacts” of a project and ignores how those impacts may

build upon existing harms. Grand Canyon Trust v. FAA, 290 F.3d 339,

341, 345-47 (D.C. Cir. 2002); see also NRDC, 865 F.2d at 297-98

(holding that individually insignificant actions can have a collectively

significant effect). Similarly, other Circuits have recognized that

“[c]umulative impacts that result from individually minor but

collectively significant actions are the crux of what the regulations

implementing NEPA seek to avoid.” High Sierra Hikers Ass’n v.

Blackwell, 390 F.3d 630, 645 (9th Cir. 2004); see also O’Reilly v. U.S.

Army Corps of Eng’rs, 477 F.3d 225, 235 (5th Cir. 2007) (rejecting

analysis that assumed mitigating project’s impacts to individually

insignificant levels showed an absence of significant cumulative effects);

Ohio Valley Env’t Coal. v. Aracoma Coal Co., 556 F.3d 177, 208 (4th Cir.

2009) (agreeing with O’Reilly, but finding the Corps adequately

analyzed cumulative effects there). Analysis of cumulative impacts

protects against “the tyranny of small decisions,” Kern v. BLM, 284 F.3d



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1062, 1078 (9th Cir. 2002) (cleaned up), by confronting the possibility

that agency action may contribute to cumulatively significant impacts

even where impacts appear insignificant in isolation. Indeed, FERC

itself has previously concluded that three neighboring liquefied natural

gas export terminals could have a cumulatively significant impact, even

though FERC concluded that each project’s individual impact would be

insignificant. See, e.g., Rio Grande LNG, LLC, 170 FERC ¶ 61,046, P55

(Jan. 23, 2020).

      Here, however, FERC arbitrarily concluded that because it found

the Terminal’s individual nitrogen dioxide impacts insignificant,

cumulative impacts were also insignificant. Authorization Order P63

[JA032-033]; FEIS 4-198, 4-232, 4-392 [JA316, 349, 376]. This focus

solely on incremental impacts violated NEPA. Grand Canyon Trust, 290

F.3d at 345-47; 40 C.F.R. § 1508.1(g)(3).

      FERC’s reliance on Clean Air Act provisions that focus on

incremental impacts led it to ignore cumulative impacts, in violation of

NEPA. The Clean Air Act’s Prevention of Significant Deterioration

program generally prohibits construction of any stationary source that

would “cause[] or contribute to” a NAAQS violation. 42 U.S.C.



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§ 7475(a)(3). EPA interprets this provision “to mean that a source must

have a ‘significant impact’ on air quality in order to cause or contribute

to a violation.” 9 EPA’s Significant Impact Levels thus focus on the

source’s incremental contribution to total pollution concentrations, not

the cumulative impacts of those concentrations.10 NEPA, on the other

hand, is specifically concerned with how individually minor actions can

have cumulatively significant outcomes. 40 C.F.R. § 1508.1(g)(3). NEPA

further requires FERC to consider the environmental impacts that can

result despite compliance with other laws. Calvert Cliffs’ Coordinating

Comm. v. U.S. Atomic Energy Comm’n, 449 F.2d 1109, 1122-25 (D.C.

Cir. 1971) (rejecting agency’s attempt to “exclude” from NEPA review

impacts addressed by “standards of other agencies”). And the Natural


      9 EPA, Guidance on Significant Impact Levels for Ozone and Fine

Particles in the Prevention of Significant Deterioration Permitting
Program, at 4 (Apr. 17, 2018),
https://www.epa.gov/sites/production/files/2018-04/documents/
sils_policy_guidance_document_final_signed_4-17-18.pdf.
      10 Notably, EPA has explained that where modeling indicates that

a violation will occur but that a proposed source’s contribution will be
small, the project may be approved but the violation must be addressed
in other ways. Mem. from Gerald Emison, EPA Office Air Quality, to
Thomas Maslany, EPA Air Mgmt. Div., “Air Quality Analysis for
Prevention of Significant Deterioration,” at 2 (July 5, 1988),
https://www.epa.gov/sites/default/files/2015-07/documents/reaffirm.pdf.


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Gas Act gives FERC broad authority to act on that information. See 15

U.S.C. § 717b(e)(3).

      The record shows that if FERC had considered cumulative

nitrogen dioxide impacts, as NEPA required, it would have found them

significant. Here, as in prior cases, FERC used the NAAQS as a metric

for evaluating NEPA significance. Authorization Order P63 [JA032-

033]; Rehearing Order P48 [JA118-119]. Thus, FERC excused as

insignificant modeling showing that the Terminal’s emissions

sometimes would exceed—by orders of magnitude—EPA’s one-hour

nitrogen dioxide Significant Impact Level, FEIS 4-227 [JA344], because

no exceedance coincided with a NAAQS violation, see FEIS 5-416

[JA400]. At the same time, even though FERC admitted that the

Terminal would make many NAAQS violations worse, FEIS App’x H at

5-16 [JA406-417], FERC concluded impacts were insignificant because

the Terminal’s individual contributions to those NAAQS violations

would not exceed the Significant Impact Level, FEIS 4-231 [JA348]. But

having chosen the NAAQS as a threshold for significance, FERC cannot

claim that cumulative pollution levels that violate the NAAQS are

insignificant just because it believes the Terminal’s contribution to any



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such violation is small. See also Considering Cumulative Effects, supra

note 8, at 42 (suggesting that cumulative impacts that violate a NAAQS

threshold are significant).11 FERC’s assertion otherwise wrongly

conflates incremental and cumulative impacts, in violation of NEPA.

See Grand Canyon Trust, 290 F.3d at 342-43, 345-46.

      FERC’s dismissal of cumulative impacts also had important

consequences for the rest of its analysis. The Council on Environmental

Quality has explained that “the results of cumulative effects analysis

can and should contribute to refining alternatives and designing

mitigation.” Considering Cumulative Effects, supra note 8, at vii. Here,

FERC’s dismissal of cumulative air impacts may have contributed to

FERC’s failure to take a hard look at alternatives that would reduce

those impacts, as discussed infra Part IV. And FERC’s method of

analysis obscured the fact that FERC has regulatory authority over

many of the sources contributing to the cumulative problem. See FEIS



      11 Healthy Gulf contends that air pollution that does not exceed a

NAAQS can be significant for NEPA purposes, especially for
pollutants—like nitrogen dioxide—with no known health-impact
threshold or where environmental justice concerns are implicated—like
the Terminal location. However, the Court need not reach this issue
here.


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4-349, 4-359 to -360 [JA360, 370-371] (identifying ten nearby projects

that FERC retains jurisdiction over, including the proposed CP2 project

located roughly two miles from the Terminal). The cumulative impact of

just these projects may be significant, and something FERC could

ameliorate by requiring pollution reduction or mitigation. But by

halting its analysis once it concludes that each project’s air impacts are

individually insignificant, FERC would never have to account for these

significant cumulative impacts.



B. FERC’s reliance on Significant Impact Levels as dispositive
   to its air and environmental justice impact analyses was
   arbitrary and capricious

      Even if FERC’s conflation of incremental and cumulative effects

were somehow reasonable, its reliance on EPA’s interim Significant

Impact Level as a threshold in that analysis was not. Compliance with

Significant Impact Levels does not satisfy NEPA’s distinct inquiry.

FERC’s analysis thus ignored important context for the Terminal’s

impacts, particularly to the environmental justice communities nearby.

      As explained above, the Terminal would emit substantial volumes

of nitrogen dioxide, which would raise pollution levels in surrounding,

predominantly environmental justice, communities. FEIS 4-224, -227,


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-231 [JA341, 344, 348]. FERC concluded that this pollution would be

insignificant because, when the one-hour NAAQS would be exceeded, all

such exceedances would occur without the Terminal’s emissions,

Rehearing Order P52 [JA121-122], and the Terminal’s contribution to

those exceedances would be lower than EPA’s Significant Impact Level,

Authorization Order P63 [JA032-033].

      FERC erred in asserting that the Terminal’s impact was

insignificant because the NAAQS would be exceeded anyways. FEIS 4-

231 [JA348]; Rehearing Order P52 [JA121-122]. NAAQS are neither a

floor nor a ceiling for health impacts. Indeed, EPA has explained that

“there is little evidence of any effect threshold” for short-term nitrogen

dioxide exposures and that the relationship between exposures and

adverse impacts “appear linear within the observed range of data.”

Primary National Ambient Air Quality Standards for Nitrogen Dioxide,

75 Fed. Reg. 6,474, 6,480 (Feb. 9, 2010). This means, for any

incremental increase in nitrogen dioxide levels in the air, there is an

incremental increase in risk to the surrounding community. See United

States v. Ameren Mo., 421 F. Supp. 3d 729, 774 (E.D. Mo. 2019)

(adopting U.S. government’s argument on that point as to another



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pollutant, particulate matter). Moreover, each step beyond the NAAQS

would make it that much harder to correct any violation. FERC’s claim

that NAAQS violations would occur anyway is thus irrelevant.

      FERC’s reliance on EPA’s interim Significant Impact Level

guidance for one-hour nitrogen dioxide under the Clean Air Act as a

threshold for NEPA significance, see FEIS 4-392 [JA376], was also

arbitrary. FERC predicted that the Terminal’s maximum contribution

to an exceedance would be 2.7979 µg/m3 on a day when the NAAQS

would be exceeded by 3.2 µg/m3, FEIS H-13 [JA414], but deemed those

emissions from the Terminal insignificant because they would not

exceed EPA’s interim Significant Impact Level of 7.5 µg/m3, FEIS 4-231

to -232 [JA348-349]. Even if this Significant Impact Level argument

were appropriate under the Clean Air Act,12 it did not answer the

questions NEPA posed. As this Court explained in Calvert Cliffs,

compliance with other laws may not fully ameliorate a project’s

environmental harms. 449 F.2d at 1123. Where an agency like FERC



      12 Several petitioners here have separately challenged the Clean

Air Act permits for the Terminal, in Fifth Circuit case no. 23-60234, and
in a protective suit in Louisiana state court, see R.547, Petition for
Review in 19th Judicial District Court, at 1 n.1 [JA502].


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has broad authority to deny or modify a project, the agency must decide

whether the residual harms that exist despite compliance with other

laws “outweigh … the benefits.” See id. at 1123-25. NEPA requires that

this analysis be informed by a hard look at these residual impacts. See

id. The “significance” of these impacts will “var[y] with the setting of

the proposed action,” and the agency must consider, inter alia, “[e]ffects

on public health and safety.” 40 C.F.R. § 1501.3(b)(1), (b)(2)(iii). Thus,

FERC’s obligations under NEPA were analytically distinct from

Commonwealth’s obligations under the Prevention of Significant

Deterioration program.

      EPA’s suggested Significant Impact Level, moreover, is not even

helpful evidence in meeting FERC’s NEPA obligations. In this regard,

the Significant Impact Level is different than the NAAQS. EPA adopted

the one-hour nitrogen dioxide NAAQS after a close review of the health

impacts that resulted from short-term nitrogen dioxide exposures at

different levels. See 75 Fed. Reg. at 6,479-84. EPA did not engage in any

comparable analysis or expert judgment in proposing the interim one-

hour nitrogen dioxide Significant Impact Level. See generally 2010 SIL

Guidance, supra note 3, at 11-13. EPA did not provide any evidence



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demonstrating, for example, that an increase above the NAAQS of less

than 7.5 µg/m3 would not have measurable or important health impacts

on exposed populations. Id. Instead, EPA proposed the Significant

Impact Level at 4% of the NAAQS simply because that is what EPA had

done when setting levels for other pollutants, and because EPA wanted

to reduce administrative burdens. Id. at 12. Thus, while the NAAQS

itself may reflect EPA’s considered judgment about the point at which

cumulative pollution levels becomes unacceptably harmful, the

Significant Impact Level does not reflect any similar evidence or

expertise.

      Nor does the Significant Impact Level reflect how impacts may be

influenced by the Commonwealth Terminal’s particular setting. 40

C.F.R. § 1501.3(b)(1). Consideration of a project’s context is especially

vital where, as here, the project will primarily affect environmental

justice communities. Authorization Order P63 [JA032-033]. EPA has

recognized that low income and minority populations may be

disproportionately susceptible to environmental impacts, such that an

impact could be “significan[t] to minority populations and low-income

populations in the affected environment, despite having no significant



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impact to the general population.” EPA, Promising Practices, supra note

2, at 34. This may occur because of, for example, “special

vulnerabilities, e.g. pre-existing health conditions that exceed norms

among the general population” or “unique routes of exposure.” Id.

      While FERC acknowledged some of these environmental justice

factors, it did not actually consider them. FERC purportedly agrees that

“local health risk factors, disease prevalence, and access (or lack

thereof) to adequate care” can exacerbate the impacts of air pollution.

Authorization Order P63 [JA032-033]; accord id. at Glick Concurrence

P5 [JA073-074] (acknowledging that cancer and asthma rates in the

surrounding communities exceed the national average). And that

“environmental justice communities in the study area would experience

cumulative impacts on air quality.” Authorization Order P63 [JA032-

033]. These factors, however, played no role in FERC’s actual analysis.

FERC simply concluded that because the Terminal’s contributions to

any NAAQS exceedance would fall below the Significant Impact Level,

there was no need for further inquiry.

      FERC’s myopic focus on the Significant Impact Level under the

Clean Air Act to determine NEPA significance was arbitrary.



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“[E]nvironmental justice is not merely a box to be checked.” Friends of

Buckingham v. State Air Pollution Control Bd., 947 F.3d 68, 92 (4th Cir.

2020). But box-checking, divorced from the environmental justice

realities of the Terminal’s impacts, is exactly what FERC did here. This

violated NEPA’s hard look requirement.



C. Healthy Gulf timely raised challenges to FERC’s use of
   Significant Impact Levels

      Contrary to FERC’s Rehearing Order, Healthy Gulf did not waive

challenges to FERC’s reliance on Significant Impact Levels by failing to

articulate those challenges prior to the rehearing stage. Contra

Rehearing Order P51 [JA120-121]. While the Natural Gas Act limits

judicial review to issues raised on rehearing, it does not limit requests

for rehearing to issues previously presented to the agency. 15 U.S.C.

§ 717r(a)-(b). Nor do FERC’s regulations contain any such limitation.

See 18 C.F.R. § 385.713. Indeed, this Court has previously rejected

FERC’s claim that issues not raised before rehearing are waived,

holding that even when an argument is raised for the first time in

rehearing, this “adequately apprised” FERC of the objection, and the

Court could (and did) consider the objection on appeal. Gulf S. Pipeline



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 Co., LP v. FERC, 955 F.3d 1001, 1012-13 n.2 (D.C. Cir. 2020). FERC

 was clearly “adequately apprised” of Healthy Gulf’s arguments here—

 despite briefly asserting waiver, Rehearing Order P51 [JA120-121],

 FERC then spent six paragraphs responding to Healthy Gulf’s

 argument. Id. P52-57 [JA121-125].


IV. FERC ARBITRARILY REJECTED MULTIPLE ALTERNATIVE
      TERMINAL DESIGNS THAT WOULD HAVE REDUCED
                ENVIRONMENTAL IMPACTS

      The heart of an EIS is the discussion of alternatives: agencies

 must “[e]valuate reasonable alternatives to the proposed action” and

 “[d]iscuss each alternative considered in detail … so that reviewers may

 evaluate their comparative merits.” 40 C.F.R. § 1502.14(a)-(b); 42

 U.S.C. § 4332(C)(iii). In particular, the alternatives analysis must

 “inform decision makers and the public of reasonable alternatives that

 would avoid or minimize adverse impacts.” 40 C.F.R. § 1502.1. This

 analysis informs FERC’s decisionmaking, including whether to require

 modifications to a proposed terminal. 15 U.S.C. § 717b(e)(3)(A). FERC’s

 alternatives analysis follows a three-step framework: first screening out

 alternatives that would not meet the project purpose, second screening

 out alternatives that would be technologically or economically


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infeasible, and third examining the environmental impacts of

remaining alternatives. FEIS 3-25 [JA279]; see Myersville Citizens for a

Rural Cmty., Inc. v. FERC, 783 F.3d 1301, 1323 (D.C. Cir. 2015).

      Here, FERC violated these requirements with regard to three

design alternatives that would lessen the Terminal’s environmental

impacts while meeting the project’s purpose and need. FERC rejected

two alternatives that FERC conceded would be reasonable and that

would reduce some environmental impacts, based on an assertion that

each would increase other environmental impacts. FEIS 3-46, -48

[JA300, 302]. But for each, FERC failed to provide any discussion of by

how much adverse impacts would increase. Merely pointing out that an

alternative presents tradeoffs, rather than being purely beneficial, is

not enough, because FERC and the public must be able to determine

whether these tradeoffs are worthwhile. Nor can identifying an

unquantified drawback justify FERC’s conclusion that requiring the

alternative would not be a “necessary and appropriate” exercise of

FERC’s Natural Gas Act authority. 15 U.S.C. § 717b(e)(3)(A). For a

third alternative—partial capture and sequestration of the Terminal’s

carbon dioxide emissions—FERC’s order contradicted its own final EIS:



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FERC ultimately dismissed this alternative as infeasible, although the

EIS concluded that FERC did not have information sufficient to support

that conclusion. FEIS 4-399 [JA383]; Rehearing Order P28 [JA104-105].



A. FERC arbitrarily rejected efficient on-site electricity
   generation

      In their comments, Healthy Gulf explained that the Terminal

could reduce emissions by replacing the on-site powerplant with a more

efficient design. Even though this alternative could reduce air pollution

by 10%, FERC arbitrarily rejected it based on speculation that it would

require an unspecified increase in the Terminal’s footprint.

      The Terminal includes a powerplant to generate 120 megawatts of

electricity for on-site use. FEIS 2-6 [JA277]; Site Plan, R.179 App’x D

[JA161]. The approved design uses three simple-cycle combustion

turbines to generate this electricity. FEIS 2-6 [JA277]. During

operation, these turbines would be responsible for much of the

Terminal’s air pollution, including 25% of its greenhouse gas emissions

and 12% of its nitrogen oxides. FEIS 4-224 [JA341]. Healthy Gulf

pointed out that these emissions could be reduced if the powerplant was

replaced with a more efficient, combined-cycle facility. R.389 at 11-12



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[JA228-229]; R.533 at 16-23 [JA466-473]. A combined-cycle plant

generates electricity from a gas turbine, but then also uses the heat

from turbine exhaust to generate additional electricity. R.533 at 17

[JA467].13 This allows the plant to produce the same amount of

electricity while burning less gas, with commensurately lower

emissions. In addition, combined-cycle plants are more amenable to

certain pollution-control technologies. R.533 at 17-18 [JA467-468].

Thus, per unit of gas burned, a combined-cycle plant makes more

electricity while also producing less pollution than a simple-cycle plant.

      FERC’s reason for rejecting a combined-cycle alternative was

FERC’s speculation that it would require a larger terminal footprint.

FERC did not dispute that using a combined-cycle plant would meet the

project purpose. FEIS 3-48 [JA302]. Nor did FERC dispute that

combined-cycle electricity generation was technically and economically

feasible. Id. Rehearing Order P26 [JA103-104]. And FERC admitted

that replacing the proposed simple-cycle turbines with combined-cycle



      13 See also FERC, Market Assessments Glossary,

https://www.ferc.gov/industries-data/market-
assessments/overview/glossary#C (defining “Combined-cycle power
plant”).


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units would reduce air pollution. Rehearing Order P26 [JA103-104].

Specifically, FERC found that this alternative could reduce total

terminal operating emissions by up to 10%, id., that is, by up to 350,000

tons per year of carbon dioxide equivalent, 38 tons per year of nitrogen

oxides, etc., FEIS 4-224 [JA341]. Yet FERC rejected the combined-cycle

alternative purely based on the claim that it would take more space

than the simple-cycle powerplant, and therefore increase the Terminal

footprint and impact additional wetlands and/or habitat for the

threatened black rail. FEIS 3-48 [JA302]; Rehearing Order P26 [JA103-

104].

        Nothing in the record supports FERC’s claim that a combined

cycle alternative would require a bigger footprint. Neither the final EIS

nor FERC’s orders explained how much space the proposed simple-cycle

powerplant requires. And although the waste heat recovery equipment

for combined-cycle plants takes up space, this does not necessarily

require a larger overall footprint, especially because the turbine itself

can be smaller. Healthy Gulf explained that existing combined-cycle

plants with capacity like that needed here had footprints of only 2.9 and

3.4 acres, R.533 at 21-22 [JA471-472], or about 3% of the approved



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Terminal footprint, FEIS ES-3 [JA272]. FERC did not dispute that

those designs, or equivalent footprints, would be adequate here.

Rehearing Order P26 [JA103-104].

      Even if the record supported FERC’s assertion that combined-

cycle electricity generation would require some additional space, NEPA

required FERC to take a hard look at how much extra space would be

needed. Where this Court has upheld an agency’s conclusion that an

alternative would have adverse environmental impacts, the agency

actually assessed the extent of the impact. Ctr. for Biological Diversity,

67 F.4th at 1183 (affirming FERC’s rejection of alternatives that “would

impose substantially more environmental harm,” where FERC

explained that, e.g., alternatives would have disturbed “more than 6,000

additional acres”); Sabal Trail, 867 F.3d at 1369 (affirming FERC’s

conclusion that alternatives would not reduce environmental justice

impacts, where FERC concluded that they “would affect a relatively

similar percentage of environmental justice populations”). This Court

has never affirmed rejection of an alternative solely based on an

entirely unquantified or unexamined environmental impact. And FERC




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did estimate the change in terminal footprint that would be associated

with other alternatives, just not this one. See Part IV.B.

      FERC’s unexplained assertion that reductions in air pollution

would be outweighed by harms to wetlands and habitat is particularly

absurd given FERC’s treatment of resources elsewhere. Looking solely

at greenhouse gases, combined-cycle electricity generation could reduce

emissions by 350,000 tons per year. That reduction is three times

greater than FERC’s proposed significance threshold for greenhouse

gases, supra Part II.B.1, and reducing facility greenhouse gas emissions

by 10% would avoid roughly $360 million in social harm through 2050,

FEIS 4-397 [JA381]. On the other hand, FERC concluded that the

impact of the entire Terminal footprint is insignificant. For example,

although the Terminal would permanently impact almost 90 acres of

wetlands, FERC concluded that this impact would be mitigated and is

insignificant. FEIS 5-405 to -406 [JA389-390]. Even assuming that the

combined-cycle alternative would require an extra two or three acres of

wetland impact, it is hardly self-evident that a 3% increase in impacts

that FERC concluded were insignificant outweighs the benefits of a

substantial reduction in air pollution. NEPA requires “substantive,



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comparative environmental impact information” regarding reasonable

alternatives. N.M. ex rel. Richardson v. BLM, 565 F.3d 683, 708 (10th

Cir. 2009). FERC’s analysis failed to “sharply defin[e] the issues and

provid[e] a clear basis for choice among options,” falling short of what

NEPA requires. Union Neighbors United, 831 F.3d at 577 (quoting 40

C.F.R. § 1502.14).



B. FERC arbitrarily rejected reverting to Commonwealth’s
   initially-proposed liquefied natural gas storage tank volume

      FERC similarly failed to justify its conclusion that an alternative

that would omit one of the proposed liquefied natural gas storage tanks

was not environmentally beneficial. This alternative would reduce the

terminal footprint and thus impacts to wetland or habitat. But FERC

rejected it because it would cause an unspecified increase in air

emissions. FEIS 3-46 [JA300].

      This alternative would provide Commonwealth with more

liquefied natural gas storage that Commonwealth initially proposed.

R.117 at 6 [JA158]. Commonwealth initially proposed six liquefied

natural gas storage tanks, each with 40,000 cubic meters of capacity. Id.

In July 2021, Commonwealth proposed to redesign these tanks to better



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comply with safety standards. R.190 at 4 [JA165]. As part of this

redesign, Commonwealth also proposed to increase the capacity of each

tank to 50,000 cubic meters, apparently entirely incidental to the safety

improvements. Indeed, Commonwealth did not identify any need for, or

benefit arising from, the additional capacity. Id. Thus, Commonwealth

could exceed its initially-identified need for 240,000 cubic meters of

storage by using five 50,000 cubic meter tanks, and use the space freed

up by the omitted sixth tank to reduce the terminal footprint. R.198 at

4-5 [JA169-170]

      As with the electricity generation alternative, FERC’s reason for

rejecting the storage tank alternative was the claim of adverse impacts.

FERC speculated that additional storage capacity provided a buffer that

would allow the terminal to continue operating even when weather

prevented shipping vessels from reaching the terminal, and that with a

smaller buffer, the terminal (or some unspecified components thereof)

would need to start up and shut down more often, increasing air

pollution impacts. FEIS 3-46 [JA300]. On the other hand, FERC agreed

that this alternative could reduce wetland or habitat impacts by up to




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2.3 acres. Id. 14 FERC concluded that the potential for increased air

pollution outweighed the benefit of the smaller footprint, such that this

alternative was not environmentally beneficial. Id.; Rehearing Order

P30 [JA105-106].

      But as with electricity generation, FERC provided no detail

regarding the environmental impact—this time, air pollution—that

purportedly justified FERC’s decision. FERC did not even suggest how

much more often the Terminal might need to shut down and restart

with the five-tank alternative. FEIS 3-46 [JA300]. Commonwealth

identified 33 times that the nearby shipping channel was closed in

2021, Rehearing Order P31 [JA106] (citing R.265 at 37-39 [JA185-187]),

but neither Commonwealth nor FERC explained how many of these

channel closures would have required shutdowns under a five-tank




      14 The Rehearing Order mistakenly asserts that “Commonwealth

stated that the project’s footprint would not be reduced by eliminating
one of the six storage tanks.” Rehearing Order P31 n.86 [JA106] (citing
R.265 at 36 [JA184]). The cited document does not make this
counterintuitive statement. Commonwealth argued that its design was
already space efficient, but did not dispute that omitting one of the
tanks would free up space and allow the Terminal footprint to be
reduced.



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alternative, or how many of those shutdowns would have been avoided

with the six-tank proposal.15 Nor did FERC discuss how much air

pollution would be emitted by these additional shutdown and startup

events. FEIS 3-46 [JA300]; Rehearing Order P30 [JA105-106]. By

failing to provide any information about air pollution impacts from the

five-tank alternative, FERC failed to provide the public with

information necessary to compare these alternatives, 40 C.F.R. §

1502.14, and failed to support its conclusion that air pollution impacts

outweigh potential benefits to wetlands or habitat.

      FERC’s dismissal of the five-tank alternative is particularly

absurd when juxtaposed with its treatment of the combined-cycle

generation alternative. For the former, a small, alleged increase in

wetland impacts from the alternative overrode a substantial reduction

in air pollution. But for the latter, a similar-sized reduction in wetland

impacts from the alternative was not enough to overcome an

undetermined, alleged increase in air pollution. Evaluating tradeoffs



      15 Failure to provide this information also means there is no

factual support for Commonwealth’s assertion that the additional
storage tank provides a meaningful operational benefit. Contra
Rehearing Order P31 [JA106].


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between different environmental resources can be difficult, with few

clear bright lines. This is all the more reason why agencies must

explain their reasoning. Here, FERC has not concluded that air impacts

are categorically more important than wetlands or habitat, or vice

versa: FERC chose one alternative that would protect wetlands at the

expense of air, and one that protected air at the expense of wetlands.

But FERC failed to reconcile these two choices with one another. See

Prairie Band Potawatomi Nation v. Yellen, 63 F.4th 42, 47 (D.C. Cir.

2023) (finding, “[a]bsent further explanation,” agency decision that

“treats similar situations in disparate ways contrary to the principles of

reasoned decision making” (cleaned up)).



C. FERC arbitrarily dismissed carbon capture and
   sequestration

      A third alternative that FERC failed to rigorously explore, and

that FERC did not justify rejecting, is carbon capture and

sequestration. The Rehearing Order concluded that carbon capture and

sequestration would be infeasible. Rehearing Order P28 [JA104-105].

However, the neighboring CP2 liquefied natural gas terminal—which

would be sited only 1.5 miles from the Commonwealth Terminal—has,



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under FERC’s supervision, determined that this technology is feasible,

and is actively pursuing this option. FEIS 4-399 [JA383]. FERC did not

offer any explanation as to why sequestration that was feasible for CP2

would be infeasible for the Commonwealth Terminal; to the contrary,

the final EIS concluded that FERC did not have enough information to

dismiss carbon capture and sequestration as infeasible. Because FERC

did not identify any additional information before dismissing this

alternative in its orders, that dismissal was arbitrary.

      The only reason FERC gave for rejecting carbon capture and

sequestration was concern over the feasibility of sequestration. FERC

agreed that the “carbon capture” part of the process was feasible. FEIS

4-398 [JA382]. Indeed, liquefied natural gas terminals can implement

partial carbon capture cheaply and more easily than most other

facilities, because the “pretreatment” process export facilities must use

to remove impurities from pipeline gas inherently produces a relatively

pure stream of carbon dioxide amenable to sequestration, regardless of

whether the facility plans to actually sequester that carbon. FEIS 4-264

to -265, 4-398 [JA351-352, 382]. Unsurprisingly, multiple liquefied

natural gas export terminals therefore propose to capture and sequester



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this source of carbon dioxide. And the potential emission reduction is

substantial. Here, the pretreatment process would emit 566,334 tons

per year of carbon dioxide equivalent, most of which could be captured.

Id. 4-224, 4-265 [JA341, 352]. FERC agreed that the “capture” part of

carbon capture and sequestration would be feasible for these emissions,

and the record would not have permitted FERC to conclude otherwise.

      The final EIS, however, reported that “Commonwealth states that

due to a lack of [existing] sequestration infrastructure, carbon capture

and sequestration are not feasible for this project.” FEIS 4-398 [JA382]

(emphasis added). But the EIS “note[d]” that the CP2 liquefied natural

gas project, only 1.5 miles away, had determined that sequestration was

feasible. Id. 4-399 [JA383]. Although the CP2 project did not rebut

Commonwealth’s claim that existing sequestration infrastructure was

inadequate, CP2 proposed constructing a short new pipeline that would

connect the terminal to an offshore sequestration site only three miles

away. Id. The EIS’s discussion of carbon capture and sequestration

concluded with the statement that “[w]ithout additional information,

[FERC was] unable to evaluate the feasibility of CP2 LNG’s

sequestration site for the Commonwealth Project.” Id.



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      That additional information never came. Whereas the EIS

carefully attributed the claim of infeasibility to Commonwealth without

adopting it as FERC’s own, the Rehearing Order asserted that

sequestration is infeasible, without discussing whether Commonwealth

could use CP2’s sequestration site. Rehearing Order P28 [JA104-105].16

FERC failed to demonstrate—or even assert—that it would be

infeasible for the Commonwealth Terminal to sequester its

pretreatment carbon dioxide emissions at the same site the neighboring

CP2 terminal proposes to use. Without this analysis, FERC’s conclusion

that sequestration was infeasible was arbitrary.


 V. FERC’S PUBLIC INTEREST FINDING UNDER SECTION 3
      OF THE NATURAL GAS ACT WAS ARBITRARY AND
                      CAPRICIOUS

      In deciding whether to approve export infrastructure under

Natural Gas Act Section 3(e), FERC borrows the standard from Section

3(a): FERC will approve a proposal “unless” it would be “[in]consistent

with the public interest.” 15 U.S.C. § 717b(a), (e); see EarthReports, 828

F.3d at 953. Here, FERC found that, considering the full record before


      16 The Authorization Order failed to discuss the feasibility of

carbon sequestration at all.


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it, including the EIS, the Terminal is not inconsistent with the public

interest. Authorization Order P18 [JA010]; Rehearing Order P11

[JA094-095]. This finding was unlawful for two reasons.

      First, because FERC violated NEPA by failing to take a hard look

at impacts and potential mitigation, FERC lacked a rational basis for

concluding that those impacts did not render the Terminal contrary to

the public interest, or that modification of the Terminal was not

appropriate. Vecinos, 6 F.4th at 1331.

      Second, FERC failed to reasonably explain its public interest

finding—or, as two Commissioners put it, failed “to provide a clear

framework for the Commission to make its public interest

determination.” Authorization Order, Clements Concurrence P5

[JA087]; see also id. Glick Concurrence P5 [JA073-074]; Rehearing

Order, Clements Dissent P1-4 [JA148-150]. FERC’s failure to “provide a

cogent explanation for how” it made its public interest determination

violates the Administrative Procedure Act’s requirement for reasoned

decisionmaking. See Envtl. Def. Fund v. FERC, 2 F.4th 953, 975 (D.C.

Cir. 2021).




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      FERC provided no explanation of how it weighed the Terminal’s

purported benefits against the harms to public resources. See

Authorization Order, Glick Concurrence PP2, 6 [JA072-073, 074]. On

the benefits side of the scale, FERC refused to consider commenters’

questions about the economic need for, or benefit of, the Terminal.

Authorization Order P11-13 [JA006-007]; Rehearing Order P10

[JA094].

      As to harms, FERC did not discuss climate impacts in its public

interest analysis, Authorization Order P10-18 [JA005-010]; Rehearing

Order P9-11 [JA093-095], despite the Terminal’s substantial carbon

pollution—millions of tons per year—and related social costs—more

than $100 million per year, supra Part II. As Commissioner Clements

explained in her dissent from the Rehearing Order:

           The Environmental Coalition argues that the
           Commission is required to consider climate
           impacts in its public interest determination under
           section 3 of the [Natural Gas Act]. If the
           Commission had done so, one would expect it to
           say as much in response. But the Order does not
           say the Commission considered climate impacts in
           its public interest determination… Did climate
           impacts factor into the public interest
           determination at all? If so, how? Neither the
           parties nor a reviewing court can discern from the
           Order whether the Commission even agrees that it


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           must consider climate impacts and, if so, whether
           and how it weighed them in its public interest
           determination.

Rehearing Order, Clements Dissent P2 [JA148-149]. If a FERC

Commissioner cannot understand how FERC is making its decisions,

how can the public or this Court?

      FERC leaned heavily on the Natural Gas Act’s presumption in

favor of authorizations. Rehearing Order P9 [JA093-094]. But FERC

failed to justify its conclusion that the presumption “was not overcome”

here. Id. P10 [JA094]. FERC provided no indication what the presumed

public interest benefits are, whether they are corroborated—or

undermined—by record evidence, and how they compare to record

evidence of public harm. How FERC gets from recognizing Terminal

impacts to the Terminal not being inconsistent with the public interest

is simply a black box. See Bhd. of Locomotive Eng’rs & Trainmen v. Fed.

R.R. Admin., 972 F.3d 83, 117 (D.C. Cir. 2020) (rejecting agency’s “total

explanatory void” on important determination). FERC failed to

demonstrate that it weighed “all factors bearing on the public interest”

against the presumption, see Atl. Refining Co. v. Pub. Serv. Comm’n,

360 U.S. 378, 391 (1959), and to explain its conclusion in a way that



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allows meaningful judicial review, see Physicians for Soc. Resp. v.

Wheeler, 956 F.3d 634, 644 (D.C. Cir. 2020). Such “conclusory”

treatment of a “critical” issue “cannot substitute for a reasoned

explanation, for it provides neither assurance that [FERC] considered

the relevant factors nor a discernable path to which the court may

defer.” Am. Radio Relay League, 524 F.3d at 241 (citation omitted).




  VI. THE COURT SHOULD VACATE THE AUTHORIZATION
                  ORDER AND FINAL EIS

      Vacatur is the “ordinary” remedy for unlawful agency action.

United Steel v. Mine Safety & Health Admin., 925 F.3d 1279, 1287 (D.C.

Cir. 2019) (citing 5 U.S.C. § 706(2)); accord Bhd. of Locomotive Eng’rs,

972 F.3d at 117. Departure from this default is not warranted here. See

Allied-Signal, Inc. v. Nuclear Regul. Comm’n, 988 F.2d 146, 150-51

(D.C. Cir. 1993).

      First, FERC’s errors are “serious[].” Id. at 150. FERC failed to

take a hard look at impacts from two of the Terminal’s most serious

pollutants, supra Parts II-III, errors compounded by its failure to

rationally evaluate alternatives that could have mitigated those



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impacts, supra Part IV. FERC, moreover, did not provide a coherent

explanation for its conclusion that the Terminal, considering its

environmental impacts, was not inconsistent with the public interest.

Supra Part V. Given these critical gaps in FERC’s analysis, “it is far

from certain that FERC ‘chose correctly’” in authorizing any version of

the Terminal, much less the specific alternative selected. See Envtl. Def.

Fund, 2 F.4th at 976 (quoting Allied-Signal, 988 F.2d at 150).

      Second, the “disruptive consequences” of vacatur, Allied-Signal,

988 F.2d at 150-51, are “weighty only insofar as the agency may be able

to rehabilitate its rationale,” Envtl. Def. Fund, 2 F.4th at 976 (quoting

Comcast Corp. v. FCC, 579 F.3d 1, 9 (D.C. Cir. 2009)). Since it is not

clear FERC will be able to do so, this factor also favors vacatur. Id. This

is especially true in a NEPA suit, like this one, where “remanding

without vacatur … would give [FERC] incentive to allow ‘build[ing] first

and conduct[ing] comprehensive reviews later.’” Id. (quoting Standing

Rock Sioux Tribe v. Army Corps of Eng’rs, 985 F.3d 1032, 1052 (D.C.

Cir. 2021)). The Court should accordingly apply the normal remedy,

vacate the Authorization Order and final EIS, and remand to FERC.




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                            CONCLUSION

      For the foregoing reasons, the Court should grant the petition and

vacate the Authorization Order and final EIS.

                                                   Dated: July 10, 2023

      Respectfully submitted,



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                 CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure Rule 32(g)(1), I

certify that the foregoing brief complies with:


        1. the type-volume limitations of Rule 32(a)(7) because it

           contains 12,930 words, excluding the parts of the brief

           exempted by Rule 32(f); and


        2. the typeface requirements of Rule 32(a)(5) and the type style

           requirements of Rule 32(a)(6) because it has been prepared

           in a proportionally spaced typeface (14-point) using

           Microsoft Word (the same program used to calculate the

           word count).

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                     CERTIFICATE OF SERVICE

      I hereby certify that on this 27th day of October, 2023, I have

served the foregoing Opening Brief for Petitioners Healthy Gulf, Center

for Biological Diversity, Louisiana Bucket Brigade, Sierra Club, Turtle

Island Restoration Network, and Natural Resources Defense Council,

including the Addendum thereto, on all registered counsel through the

Court’s electronic filing system (ECF).

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